                                  Case 23-10817-LSS                    Doc 1       Filed 06/26/23           Page 1 of 14



 Fill in this information to identify your case:


 United States Bankruptcy Court for the:                                                                         •
 DISTRICT OF DELAWARE

 Case number (if known)                                                       Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.    Debtor's name               PS Funding, Inc.

 2.    All other names debtor
       used in the last 8 years
       Include any assumed         N/A
       names, trade names and
       doing business as names

 3.    Debtor's federal
       Employer Identification     XX-XXXXXXX
       Number (EIN)


 4.    Debtor's address            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                    business


                                                                                                    c/o Province, LLC
                                   2121 Park Place, Suite 250                                       2360 Corporate Circle Suite 340
                                   El Segundo, CA 90245                                             Henderson, NV 89074 Attn: David Dunn
                                   Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                   Los Angeles                                                      Location of principal assets, if different from principal
                                   County                                                           place of business

                                                                                                    Number, Street, City, State & ZIP Code

                                   https://www.peerstreet.com/
 5.    Debtor's website (URL)


 6.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify:




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Debtor     PS Funding, Inc.                                                                              Case number (if known)
           Name

7.    Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              5223

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
                                             Chapter 7
      debtor filing?
      A debtor who is a “small               Chapter 9
      business debtor” must check            Chapter 11. Check all that apply:
      the first sub-box. A debtor as
      defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      (whether or not the debtor is                                operations, cash-flow statement, and federal income tax return or if any of these documents do not
      a “small business debtor”)                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      must check the second sub-                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      box.
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.    Were prior bankruptcy                 No.
      cases filed by or against
                                            Yes.
      the debtor within the last 8
      years?
      If more than 2 cases, attach a
      separate list.                               District                                 When                                  Case number
                                                   District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
                                            Yes.
    business partner or an
    affiliate of the debtor?



      List all cases. If more than 1,
      attach a separate list                       Debtor     See Schedule 1, attached                                        Relationship
                                                   District                                 When                              Case number, if known



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Debtor    PS Funding, Inc.                                                                       Case number (if known)
          Name

11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                       Contact name
                                                       Phone



          Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor    PS Funding, Inc.                                                                         Case number (if known)
          Name

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      06/26/2023
                                                  MM / DD / YYYY


                             X   /s/ Brewster Johnson                                                     Brewster Johnson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Joseph Barry                                                          Date 06/26/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joseph Barry
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      jbarry@ycst.com


                                 4221 DE
                                 Bar number and State




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                                                      Schedule 1

                    Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                  On the date hereof, each of the affiliated entities listed below (including the debtor in this
         chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
         of title 11 of the United States Code in the United States Bankruptcy Court for the District of
         Delaware. The Debtors have filed a motion requesting that the chapter 11 cases of these entities
         be consolidated for procedural purposes only and jointly administered under the number assigned
         to the chapter 11 case of Peer Street, Inc.

                                Peer Street, Inc.
                                Peer Street Opportunity Fund GP LLC
                                PS Funding, Inc.
                                Peer Street Funding LLC
                                PeerStreet Licensing, Inc.
                                PSF REO LLC
                                PS Options LLC
                                PS Warehouse, LLC
                                PS Warehouse II, LLC
                                Peer Street Opportunity Investors II, LP
                                PS Portfolio-ST1, LLC
                                PSF Ohio, LLC
                                PSF TX 1, LLC
                                PSF TX 2, LLC
                                PSF TX 4 LLC




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               UNANIMOUS WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                                  PS FUNDING, INC.

                                                    June 26, 2023

               THE UNDERSIGNED, being the sole member of the board of directors (the “Board”) for PS
       Funding, Inc., a Delaware corporation (the “Company”), hereby consents in writing, as permitted by
       the Bylaws of the Company and section 141(f) of the Delaware General Corporation Law, to adopt
       the following resolutions:

               WHEREAS, the Board has previously reviewed, considered, and discussed certain materials
       presented by the management of the Company (“Management”) and the Company’s financial, legal
       and other advisors (the “Advisors”), including, but not limited to, materials regarding the liabilities
       and obligations of the Company, its liquidity, strategic alternatives available to it, and the effect of
       the foregoing on the Company’s business, and has had adequate opportunity to consult such persons
       regarding the materials presented, obtain additional information, and to fully consider each of the
       strategic alternatives available to the Company;

                WHEREAS, the Board has reviewed and considered presentations by Management and the
       Advisors of the Companies regarding the advantages and disadvantages of filing voluntary petitions
       for relief (the “Bankruptcy Petitions”) pursuant to chapter 11 of title 11 of the United States Code,
       11 U.S.C. § 101, et seq. (as amended, the “Bankruptcy Code”);

                WHEREAS, the Board has determined to seek the protections provided under chapter 11 of
       title 11 of the United States Code, 11 U.S.C. § 101, et seq. (as amended, the “Bankruptcy Code”).

       1.     CHAPTER 11 FILING

              NOW THEREFORE, BE IT:

                RESOLVED, that in the judgment of the Board, it is desirable and in the best interest of the
       Company, its interest holders, its creditors, and other parties in interest, that the Company file or cause
       to be filed a voluntary petition for relief (the “Bankruptcy Petition”) under the provisions of chapter
       11 of title 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
       Delaware (the “Bankruptcy Court”);

               RESOLVED FURTHER, that any director or duly appointed officer of the Company, each
       acting individually and with full power of substitution (together with any persons to whom such
       persons delegate certain responsibilities, collectively, the “Authorized Persons,” and each
       individually, an “Authorized Person”) be, and hereby is, authorized to execute and file on behalf of
       the Companies and their subsidiaries all petitions, schedules, lists, and other motions, papers, or
       documents, and to take any and all action that such Authorized Person deems necessary or proper to
       obtain such relief, including, but not limited to, any action necessary or proper to maintain the ordinary
       course operations of the Company or any of its subsidiaries or obtain additional financing in
       accordance with the Bankruptcy Code;



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       2.     RETENTION OF PROFESSIONALS

               RESOLVED FURTHER, that each of the Authorized Persons, acting alone or with one or
       more other Authorized Persons be, and hereby are, authorized, empowered and directed to employ:
       (i) Young Conaway Stargatt & Taylor LLP, as co-bankruptcy counsel; (ii) Kramer Levin Naftalis &
       Frankel LLP, as co-bankruptcy counsel; (iii) Stretto, Inc. as claims and noticing agent; (vi) Piper
       Sandler, as broker; and (v) any other legal counsel, accountants, financial advisors, restructuring
       advisors or other professionals the Authorized Persons deem necessary, appropriate or advisable; each
       to represent and assist the Company in carrying out its duties and responsibilities and exercising its
       rights under the Bankruptcy Code and any other applicable law; and in connection therewith, the
       Authorized Persons, acting alone or with one or more other Authorized Persons be, and hereby are
       authorized, empowered and directed, in accordance with the terms and conditions hereof, to execute
       (under the common seal of the Company, if appropriate) appropriate retention agreements, pay
       appropriate retainers, and to cause to be filed appropriate applications for authority to retain such
       services;

               RESOLVED FURTHER, that each of the Authorized Persons, acting alone or with one or
       more other Authorized Persons be, and hereby are, authorized, empowered and directed to execute
       and file all agreements, certificates, petitions, schedules, motions, lists, applications, pleadings, and
       other papers, and to perform such further actions and execute such further documentation that the
       Authorized Persons in their absolute discretion deem necessary, appropriate or desirable in
       accordance with these resolutions;

       3.     GENERAL RESOLUTIONS

               RESOLVED FURTHER, that the Company hereby authorizes any direct or indirect
       subsidiary of the Company or any affiliate of the Company or any entity of which the Company or
       any subsidiary of such Company is the sole member, general partner, managing member, or equivalent
       manager, as applicable, to take each of the actions described in these resolutions or any of the actions
       authorized in these resolutions, and none of the resolutions contained herein, or action taken in
       furtherance hereto, shall have or cause an adverse effect on any such subsidiary, affiliate, or the
       Company’s interest therein (including without limitation, any automatic dissolution, divestiture,
       dissociation, or like event under applicable law);

               RESOLVED FURTHER, that in addition to the specific authorizations heretofore conferred
       upon the Authorized Persons, each of the Authorized Persons be, and hereby is, authorized and
       empowered, in the name of and on behalf of the Company, to take or cause to be taken any and all
       such other and further action, and to execute, acknowledge, deliver, and file any and all such
       agreements, certificates, instruments, and other documents and to pay all expenses, including but not
       limited to filing fees, in each case as in such Authorized Person’s judgment, shall be necessary,
       appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of the
       resolutions adopted herein;




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               RESOLVED FURTHER, that the Board has received sufficient notice of the actions and
       transactions relating to the matters contemplated by the resolutions, as may be required by the
       organizational documents of the Company, or hereby waives any right to have received such notice;

               RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
       contemplated by these resolutions done in the name of and on behalf of the Company, which acts
       would have been approved by the resolutions except that such acts were taken before the adoption of
       these resolutions, are hereby in all respects approved, confirmed and ratified as the true acts and deeds
       of the Company with the same force and effect as if each such act, transaction, agreement, or
       certificate had been specifically authorized in advance by resolution of the Board;

                RESOLVED FURTHER, that the omission from these resolutions of any agreement,
       document or other arrangement contemplated by any of the agreements, instruments, filings or other
       documents described in the foregoing resolutions or any action to be taken in accordance with any
       requirement of any of the agreements, instruments, filings or other documents described in the
       foregoing resolutions shall in no manner derogate from the authority of the Authorized Officers to
       take all actions necessary, desirable, proper, advisable or appropriate to consummate, effectuate, carry
       out or further the transaction contemplated by, and the intent and purposes of, the foregoing
       resolutions; and

               RESOLVED FURTHER, that each of the Authorized Persons be and hereby is, authorized
       and empowered to take all actions or to not take any action in the name of and on behalf of the
       Company with respect to the transactions contemplated by these resolutions as such Authorized
       Person shall deem necessary, appropriate, or desirable in such Authorized Person’s reasonable
       business judgment as may be necessary, appropriate, or desirable to effectuate the purposes of the
       transactions contemplated in these resolutions.



                               [The remainder of this page is intentionally left blank]




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              IN WITNESS WHEREOF, the undersigned has executed and delivered this Unanimous
       Written Consent of the Board of Directors of the Company as of the date first written above:



                                                         /s/ Brewster Johnson
                                                         Brewster Johnson




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                                                     4
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                                   IN THE UNITED STATES BABKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-_____ (___)

                                                 Debtors.                   (Joint Administration Requested)


                               COMBINED CORPORATE OWNERSHIP STATEMENT
                                  AND LIST OF EQUITY SECURITY HOLDERS

                      Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

         Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

         as follows:

               1.        The following entities own 10% or more of the outstanding equity interests in Debtor

                         Peer Street, Inc.:

                             Equity Holder                                     Number and Nature of Interests
                    Andreessen Horowitz Fund IV, L.P.,                        Series A Preferred (PA) – 8,166,901
                               as nominee                                     Series B Preferred (PB) – 2,693,120
                                                                               Total percent ownership: 21.31%

                             WiL Fund II, L.P.                                Series B Preferred (PB) – 5,259,466
                                                                              Series C Preferred (PC) – 1,243,138
                                                                               Total percent ownership: 12.76%

                             Brewster Johnson                                  Founders Preferred (FP) – 69,816
                                                                                  Common (CS) – 6,885,000
                                                                               Total percent ownership: 13.647%




         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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             2.   Debtor Peer Street, Inc. owns 100% of the equity interests in the following Debtors:

                     a.      Peer Street Opportunity Fund GP, LLC

                     b.      PS Funding, Inc.

                     c.      Peer Street Licensing, Inc.

                     d.      Peer Street Funding LLC

             3.   Debtor PS Funding, Inc. owns 100% of the equity interests in the following Debtors:

                     a.      PS Warehouse, LLC

                     b.      PS Warehouse II, LLC

                     c.      PS Portfolio-ST1, LLC

                     d.      PS Options LLC

             4.   Debtor Peer Street Funding, LLC owns 100% of the equity interests in the following

                  Debtors:

                      a.     PSF REO LLC

                      b.     PSF Ohio, LLC

                      c.     PSF TX 1, LLC

                      d.     PSF TX 2, LLC

                      e.     PSF TX 4 LLC




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      Fill in this information to identify the case:

      Debtor name     Peer Street, Inc., et al.
      United States Bankruptcy Court for the:                           District of     Delaware
                                                                                      (State)
      Case number (If known):
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.

     Name of creditor and complete                Name, telephone number,       Nature of the claim        Indicate if     Amount of unsecured claim
     mailing address, including zip code          and email address of creditor (for example, trade        claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,         contingent,     claim amount. If claim is partially secured, fill in total
                                                                                professional               unliquidated,   claim amount and deduction for value of collateral or
                                                                                services, and              or disputed     setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                           Total claim, if     Deduction for       Unsecured
                                                                                                                           partially           value of            claim
                                                                                                                           secured             collateral or
                                                                                                                                               setoff

1
     Retail Customer 1                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                               $33,924,609
     Redacted                                                                                              Unliquidated


2    Retail Customer 2                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                               $15,983,016
     Redacted                                                                                              Unliquidated

3
     Retail Customer 3                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                                $4,645,377
     Redacted                                                                                              Unliquidated


4    Retail Customer 4                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                                $4,428,551
     Redacted                                                                                              Unliquidated

5    Small Business Administration
                                                c/o Office of General Counsel
     Attn: Stacey Dawes                                                                 SBA Paycheck
                                                P: 303-844-0529                                                                                                      $3,782,588
     721 19th Street, Suite 426                                                       Protection Program
                                                Stacey.dawes@sba.gov
     Denver, Colorado 80202


6    Invigorate Finance, LLC                    Attn: Loren J Morris
                                                                                                           Contingent &
     425 S. Financial Place, 7th Floor          P: 800-495-7166                        Customer Claim                                                                $3,300,000
                                                                                                           Unliquidated
     Chicago, IL 60605                          lmorris@fayfinancial.com

7
     Retail Customer 5                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                                $2,204,370
     Redacted                                                                                              Unliquidated


8

     Retail Customer 6                                                                                     Contingent &
                                                Redacted                               Customer Claim                                                                $2,059,201
     Redacted                                                                                              Unliquidated




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 1
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    Debtor         Peer Street, Inc., et al.                                                       Case number (if known)
                 Name




     Name of creditor and complete             Name, telephone number, and   Nature of the claim    Indicate if        Amount of unsecured claim
     mailing address, including zip code       email address of creditor     (for example, trade    claim is           If the claim is fully unsecured, fill in only
                                               contact                       debts, bank loans,     contingent,        unsecured claim amount. If claim is partially
                                                                             professional           unliquidated,      secured, fill in total claim amount and deduction
                                                                             services, and          or disputed        for value of collateral or setoff to calculate
                                                                             government                                unsecured claim.
                                                                             contracts)
                                                                                                                       Total claim,     Deduction for      Unsecured
                                                                                                                       if partially     value of           claim
                                                                                                                       secured          collateral or
                                                                                                                                        setoff


9    Retail Customer 7                                                                               Contingent &
                                           Redacted                           Customer Claim                                                                $1,690,754
     Redacted                                                                                        Unliquidated

10 Retail Customer 8                                                                                 Contingent &
                                           Redacted                           Customer Claim                                                                $1,661,591
   Redacted                                                                                          Unliquidated

11 Retail Customer 9                                                                                 Contingent &
                                           Redacted                           Customer Claim                                                                $1,604,460
   Redacted                                                                                          Unliquidated

12 Retail Customer 10                                                                                Contingent &
                                           Redacted                           Customer Claim                                                                $1,458,467
   Redacted                                                                                          Unliquidated

13
     Retail Customer 11                                                                              Contingent &
                                           Redacted                           Customer Claim                                                                $1,118,996
     Redacted                                                                                        Unliquidated


14
     Retail Customer 12                                                                              Contingent &
                                           Redacted                           Customer Claim                                                                $1,104,961
     Redacted                                                                                        Unliquidated


15 Retail Customer 13                                                                                Contingent &
                                                                              Customer Claim                                                                 $869,623
   Redacted                                Redacted                                                  Unliquidated

16
     Retail Customer 14                                                                              Contingent &
                                           Redacted                           Customer Claim                                                                 $824,232
     Redacted                                                                                        Unliquidated


17
     Retail Customer 15                                                                              Contingent &
                                           Redacted                           Customer Claim                                                                 $818,572
     Redacted                                                                                        Unliquidated


18 Retail Customer 16                                                                                Contingent &
                                           Redacted                           Customer Claim                                                                 $805,509
   Redacted                                                                                          Unliquidated

19 Retail Customer 17                                                                                Contingent &
                                                                              Customer Claim                                                                 $801,505
   Redacted                                Redacted                                                  Unliquidated

20
     Retail Customer 18                                                                              Contingent &
                                           Redacted                           Customer Claim                                                                 $726,028
     Redacted                                                                                        Unliquidated
                              Case 23-10817-LSS                   Doc 1        Filed 06/26/23           Page 14 of 14




 Fill in this information to identify the case:

 Debtor name        PS Funding, Inc.

 United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Combined Corporate Ownership Statement and List of Equity Security
                                                                 Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on        June 26, 2023                   X /s/ Brewster Johnson
                                                            Signature of individual signing on behalf of debtor

                                                             Brewster Johnson
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
